Exhibit A          Case
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                                        DECLARATION OF THOMAS A. DIBIASE

                    I, Thomas A. DiBiase, have personal knowledge of the following facts and will testify to

            them, if called to do so:

            1. I have been the General Counsel for the United States Capitol Police ("USCP" or

               "Department") since August of 2020. From October 2019 to August of 2020, I served as the

               Acting General Counsel, and from April of2010 to October of 2019, I served as the Deputy

               General Counsel. Between 1991 and 2010, I worked as a litigator at two District of

               Columbia law finns and served for 12 years as an Assistant United States Attorney at the

               United States Attorney's Office for the District of Columbia.

            2. As part of my duties at the USCP, I have authorized the release of camera footage from the

               Department's extensive system of cameras on U.S. Capitol Grounds ("Grounds"). These

               cameras, part of a sophisticated closed circuit video (CCV) system, are resident both inside

               and outside the buildings including the U.S. Capitol itself and the other Congressional office

               buildings on the Grounds. This CCV system provides the backbone of the security for the

               U.S. Capitol Grounds. The CCV system is monitored by sworn police officers 24-7 in our

               Command Center and is relied upon to provide real time infonnation regarding any incident

               occurring on the Grounds. The first step whenever an incident occurs is for the Command

               Center to pull up the CCV cameras closest to the incident. This enables the Department to

               have a real-time view of the incident and provides an additional layer of safety for our

               officers when responding to any incident.

            3. Access to this CCV system is strictly limited. Because the system is a closed circuit, access

               to the cameras only occurs from dedicated workstations and monitors located in a handful of

               locations on the Grounds. Our system is not " in the cloud" and may not be monitored or
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    hacked by anyone not connected via a dedicated workstation and monitor.

4. The disclosure of any footage from these cameras is strictly limited and subject to a policy

    that regulates the release of footage. Per Department Directive 1000.002, Retrieval of

   Archived Video (see Attachment 1), the release of any footage from the Department's CCV

   system must be approved by the Assistant Chief of Police for Operations, the Department's

   second highest sworn officer. The Directive notes that, "[t]he Capitol Police Board [which

   oversees the USCPJ directed that cameras would only be used for matters related to national

   security and legitimate law enforcement purposes (e.g., serious crimes). The [Assistant Chief

   of Police for Operations] is the sole authority for the approval of any and all requests for

   archived video footage ...." The Directive goes on to note that, "[v]ideo footage received

   through an approved request shall not be delivered, copied, or transmitted to anyone other

   than necessary parties (e.g., court, General Counsel) without approval from the [Assistant

   Chief of Police for Operations]."

5. There is a specific Department form, a CP-411 (Attachment 2), which must be completed and

   signed by several officials including the Assistant Chief of Police for Operations before any

   camera footage can be released.

6. As part of my duties as General Counsel and my prior duties as the Deputy General Counsel,

   I have often been consulted regarding the release of camera footage. The Office of the

   General Counsel has consistently taken a restrictive view of releasing camera footage in

   cases other than serious crimes or national security. We regularly deny footage to civil

   plaintiffs who may have been involved in accidents on the Grounds unless they involved

   serious injuries or death. (Even in those cases, I have only approved an attorney or

   investigator coming to the USCP and viewing the footage in our offices with a USCP



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    employee present.) We are also often asked for camera footage related to non-USCP

   administrative investigations, and we generally do not provide that footage. We will,

   however, allow investigators from agencies with which we regularly work, such as the

   Architect of the Capitol, to view such footage in the presence of a USCP employee. Even a

   member of Congress looking to view footage of our officers' interactions with his staff had

   to come to our office and view the footage with our employees present.

7. In 2014, the USCP, with the assistance of the District of Columbia's Office of the Attorney

   General (OAG), litigated the release of USCP camera footage in Driving under the Influence

   ("DUI") cases. The Department successfully argued that any footage of a DUI defendant,

   including arrest footage and footage of the defendant being processed in our prisoner

   processing area, should be subject to a protective order. Since 2015 the Department provides

   any relevant DUI arrest footage to the OAG who in tum provides it to the defendant subject

   to a protective order. (A sample protective order in a DUI case along with a sample motion is

   attached as Attachments 3 and 4.) As noted in this protective order, an attorney for a DUI

   defendant "may only show the street video to the defendant and any investigators working on

   this case and shall not share street video nor show it to any other person not directly affiliated

   with this case.... " (Attachment 3 at 1.) The order further notes that the attorney for a DUI

   defendant may not "reproduce, share, disseminate, nor discuss with any person not named in

   this Order, the depictions shown in the video; and ... must return the street video to the

   [OAG] after the later of a plea, trial or sentencing in the above-entitled case." Id.

8. As noted in the motion for these protective orders, the OAG argues that:

       Here, the release of Capitol security street videos could compromise USCP's
       ability to protect the Capitol. The USCP's primary mission is to police the United
       States Capitol Buildings and Grounds, and it has the power to enforce the laws of
       the District of Columbia pursuant to 2 U.S.C. §1961. As part of its policing


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            responsibilities, the USCP maintains and controls a series of video surveillance
            cameras throughout the Capitol Grounds. The purpose of the cameras is to assist
            in the maintenance of national security by detecting threats to U.S. Congressmen,
            their staff, and constituents, deterring and preventing terrorism, and providing for
            the safety and security of the Capitol Buildings and Grounds. The cameras are
            generally not used to collect evidence in criminal matters.

       (Attachment 4 at 3.)

9. It is my understanding that these protective orders are regularly signed by District of

       Columbia Superior Court judges, and the USCP has provided hundreds of videos pursuant to

       these orders since 2015.

10. I am familiar with the production of camera footage related to the attempted insurrection at

       the U.S. Capitol on January 6, 2021. Soon after the events of January 6, the Department

       knew that its footage of the riots would be essential to both the criminal prosecutions arising

       out of the events as well as to assist Congress and possibly other entities to understand how

       such a vast breach of security could occur. The Department immediately preserved all the

       footage from that date, starting at noon and continuing until 8:00 p.m. 1 This footage2 was

       then provided to two distinct groups: Congressional entities and non-Congressional entities.

11. The two main Congressional entities that requested the eight hours of footage were the

       Senate Rules Committee ("Rules") and the Committee on House Administration ("CHA").

       Rules and CHA are the primary oversight bodies of the USCP, and the Department provided

       the total footage from the eight-hour period to them.3 In addition, in response to a request

       from the House of Representatives General Counsel, the Department provided numerous



1
    Without affirmative preservation, all Department footage is automatically purged within 30 days.

? The total of footage provided is over 14,000 hours.

3
 In response to later requests from both committees, the Department provided footage from the entire 24-hour
period for January 6, 2021.


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    clips from our footage to the House Impeachment Managers who were prosecuting the case

    against former President Donald J. Trump.

12. The Department also provided the complete footage from the eight-hour period to two non-

    Congressional entities, the Federal Bureau of Investigation ("FBI") and the D.C.

    Metropolitan Police Department ("MPD"), to assist in the investigation and prosecution of

    the cases arising out of the events of January 6, 2021.4 It is our understanding that it is this

    footage for which the United States now seeks a protective order. When the Department

    provided its CCV camera footage to the FBI and MPD, it did so subject to several

    restrictions. The footage was: (a) to remain in the legal control of the USCP; (b) not to be

    subject to the Freedom of Information Act; and (c) to be returned to the USCP at the

    conclusion of any investigation. These restrictions did not apply to any footage used as

    "evidence or discovery as part of any prosecution of any criminal offense." (Attachment 5 at

    1, and Attachment 6 at 1.)

13. The Department has not provided this footage to any other entity other than those listed

    above. Any public release of this footage, to the extent there has been, is not because of any

    authorized release by the USCP. (Note that the use of footage by the House Impeachment

    managers during the trial was permitted since, as a part of the Legislative Branch, the House

    Impeachment managers have a right to use footage from our cameras for impeachment

    processes similar to what would be show in a court oflaw.) It is important to note the wealth

    of publicly available footage that comes from non-USCP sources such as social media posts,

    footage recovered from indicted or arrested insurrectionists and footage from body worn

    cameras from other police departments that responded on January 6, 2021. Notably,


4
 The Department has provided a very limited number of video clips to the U.S. Attorney's Office for the District of
Columbia for an investigation related to potential January 5th incidents.

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     published footage that contains sound is not from USCP, as our CCV system does not record

     sound. Further, USCP officers do not wear body cameras, and thus any published body-worn

     camera footage is from other police departments.

14. The Department has significant concerns with the release of any of its footage to defendants

     in the Capitol attack cases unless there are safeguards in place to prevent its copying and

    dissemination. The Department is aware of efforts made before January 6, 2021, by such

    defendants and others, to gather information regarding the interior of the U.S. Capitol,

    including references to the tunnels below the Grounds and maps of the building's layout,

    which information is generally not publically available. 5 Our concern is that providing

    unfettered access to hours of extremely sensitive information to defendants who have already

    shown a desire to interfere with the democratic process will result in the layout,

    vulnerabilities and security weaknesses of the U.S. Capitol being collected, exposed and

    passed on to those who might wish to attack the Capitol again.

15. Pursuant to 2 U.S.C. § 1979, USCP information designated as "security information" may

    only be released with the approval of the Capitol Police Board. Security information is

    defined as information that:

             ( 1) is sensitive with respect to the policing, protection, physical security,
                  intelligence, counterterrorism actions, or emergency preparedness and
                  response relating to Congress, any statutory protectee of the Capitol Police,
                  and the Capitol buildings and grounds; and

             (2) is obtained by, on behalf of, or concerning the Capitol Police Board, the
                 Capitol Police, or any incident command relating to emergency response.

16. At this juncture, the Department in consultation with the Capitol Police Board, has

    designated only a small subset, consisting of less than 17 hours of footage, as " security


s Indeed, the Architect of the Capitol treats its "blueprints" of the Capitol as "security infonnation" under 2 U.S.C.
§ 1979, see below.

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    information," as that footage relates to evacuation of Members from their respective

    chambers on January 6. In addition, the Department is concerned that defendants may be

    provided access to large sections of footage or even all of the footage, and would deem such

    information, in the aggregate, to constitute "security information" under 2 U.S.C. § 1979.

    The ability of the defendants to copy or disseminate such footage would provide the

    defendants or others to whom it is released with a clear picture of the interior of the Capitol,

    including entry and exit points, office locations, and the relation of the crucial chambers and

    offices (such as the Speaker's Office or Majority Leader's Office) to other areas of the

    Capitol.6

                                    *       *        *        *        *

         I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.
                        J:;1..
Executed on this    IJ day of March 2021.

                                                             d_ . c:;, 2 - -
                                                              Thomas A. DiBiase




6
 The aggregating of infonnation as creating a national security risk is known as the Mosaic Theory. See,
hups://en.wikipedia.or;fwit:j/Mosaic theorv of intelligence gathering. last accessed March 2, 2021.

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                                                                                1000.002

                                       Retrieval of Archived Video
                                       Directive#'.            1000.002                                         Effective Date:   02/06/2015
                                                                                                                                   st
                                       Initiating Unit:        Security Services Bureau                         Review Date:      1 February
                                       CALEA:                  N/A



                                                                                           33 camera video footage to include the dissemination of
    1   Contents                                                                           34   footage through established channels. Prescribed law
                                                                                           35 enforcement purposes for the CP-411 include:
    2 Authority and Coverage ............................................... 1             36 required for court, subpoena, Office of Professional
    3 Definition(s) .................................................................. 1   37   Responsibility (QPR), or training, but may include any
    4 General Policy.............................................................. 1       38 authorized investigation. This policy will identify the
    s   Requesting Archived Video Footage ....................... 2                        39 parties that are able to request video (USCP sworn
    6   Accessing Archived Video Footage ......................... 2                       .;o officials or their civilian equivalent) and the role of the
    7 Responsibilities/Procedures ........................................ 2               41 Security Services Bureau {SSB) and Chief of
    a Security Services Bureau......................................... 2                  42 Operations (COO) in assuring that any request for
    9 Additional Information .................................................. 2          43 disseminating archived video follows an appropriate
   10 Cancellation ................................................................. 2     44 business purpose.
   11 Appendices .................................................................. 2
   12                                                                                      45   The USCP was tasked by its statutory oversight
                                                                                           46 committees to expand the video retrieval capabilities of
                                                                                           47 the Capitol Complex. The design, installation, and
   13   Authority and Coverage                                                             48 maintenance of this system are delegated to the SSB.
                                                                                           49 The Capitol Police Board directed that cameras would
   14 The Chief of Police is the chief executive officer of the                            50 only be used for matters related to national security
   1s United States Capitol Police (USCP) and is                                           51 and legitimate law enforcement purposes (e.g., serious
   16 responsible for the day-to-day operation and                                         52 crimes). The COO is the sole authority for the approval
   17 administration of the USCP.                                                          53 of any and all requests for archived video footage, with
                                                                                           54 the exception of the Office of the Inspector General
   1s   This policy may be revised at the discretion of the                                55 (OIG) which has the ability to duplicate archived video
   19 Chief of Police, consistent with applicable law, rule,                               56 footage for its own investigations.
   20 and regulation.
                                                                                           57   In addition, this policy identifies the expectations for
                                                                                           58 accessing and using video footage. This policy does
   21   Definition(s)                                                                      59 not apply to the use of video as an operational aid
                                                                                           60 (e.g., supporting the USCP Command Center
   22 CP-411 Request for Copy/Review of Video                                              61 Operations during an incident). Instead, this policy is
   23 Recordings. A form created by the USCP to                                            62 intended to safeguard against the transfer of archival
   24 document and control the request and dissemination                                   63 video for non-operational activities (e.g., as an aid to
   25 or archived video footage.                                                           64   officers in filing reports). Video footage received
                                                                                           65 through an approved request should not be delivered,
                                                                                           66 copied, or transmitted to anyone other than necessary
   26   General Policy                                                                     67 parties {e.g., court, General Counsel) without approval
                                                                                           68 from the COO.
   27 The Department must maintain appropriate internal
   2s   controls on the use and duplication of archived video                              69 The USCP, through SSB, maintains a sophisticated
   29 footage to ensure the chain of custody for all copied                                10 closed circuit television system (CCTV) system that
   30 video footage. In support of national security and                                   71   includes cameras strategically placed throughout the
   31 legitimate law enforcement purposes, the Department                                  72   Capitol Complex to provide situational awareness to
   32 adjudicates any and all requests for recorded security

                                                                             Law Enlorcemenl Sensitive
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     1    USCP personnel, supporting national security, and                46 provided through the proper chain of command to
     2    legitimate law enforcement purposes,                             47 amend the initial CP-411.


          Requesting Archived Video Footage
     3
                                                                           48   Responsibilities/Procedures
     4 The CP-411 must be routed through the chain of
     5 command and ultimately approved by the COO. A                       49   Security Services Bureou
    requesting official must also have signed the signature
     6
 7 sheet acknowtedging they have received and reviewed                     50 SSB is responsible for the following:
 13 this policy and relevant standard operating
 9 procedures. Requests for archived video footage via                     s, 1.    Process an approved request and schedule a time
10 the CP-411 must be made at least at the level of                        52       for the requesting official to pick-up the video
11 Sergeant (or their civilian equivalent) and should be                   53       footage. Only the requesting official or an alternate
12 reviewed and approved by the relevant Deputy Chief                      54       designated in writing by the requesting official may
13 (or civilian equivalent) before it is sent to the Office of             55       pick up the video.
14 the COO for official approval. The COO wHI forward
15 the request to the SSB upon approval.                                   56 2.     Assign a request tracking number to ensure
                                                                           57       accountability and proper internal controls and
 16      Accessing Archived Video Footoge                                  58       record all video requests and custody transfers
                                                                           59       with the assigned tracking number in an approved
11 Workstations, as well as the requisite access                           GO       location. Any changes to the original request will
1a privileges for access to archived video footage from                    61       require a new CP-41 1.
19 the Video Management System (VMS), are issued by
20 the SSB to officials (mostly at the rank of Captain and                 623. Stores video footage for 30 days per system
21 above) in the Operational Bureaus. In addition, the                    63    capabilities. Officials should be aware that system
22 SSB provides access privileges to any individual in
                                                                          64    maintenance or maffunctions may make video
23 organizations that frequently require video footage for
                                                                          65    unavailable prior to the 30 days. For this reason,
24 operational purposes, including the USCP Command                       65    video retrieval requests should be made promptly.
2s Center, Communications, the Criminal Investigations                    67    SSB will maintain an archive of any approved
26 Section, OGC, OPR, OIG, and SSB. Archived video
                                                                          68    video footage requests.
27 can be used for operational activities, including
28 supporting Command Center Operations during an
29 incident or supporting USCP investigation. USCP
                                                                          69    Additional Information
30 personnel should not use or reference archived video
                                                                          10 Retrieval, use, or duplication of archived video footage
31 in their reports which are used in court proceedings
                                                                          71 would not be in compliance with the intent of Congress
32 unless they have written approval from the COO.
                                                                          72 when it established the VMS.

33 Retrieving, using, or duplicating archived video footage
34 in cases not related to national security or significant
35 faw enforcement operations (e..g., traffic stops,
                                                                          73    Cancellation
36 accident reporting), could expose the location of our
                                                                          11    None.
37 CCT V cameras or identify our surveillance tactics. This
30 presents a threat to national security, as making this
39 information public could be utilized by a potential
40 adversary.
                                                                          ,,, Appendices
                                                                          , • None.
41       Video footage should be used only in the prescribed
42       manner documented in the CP-41 1 within the strict
43       controls outlined in this policy. If 1he reason for a
44       request or usage of the video footage changes,                   77                           Kim C. Dine
45       another CP-411 form should be completed and                                                  Chief of Police


                                                Lilw F.nlurcernen1 Sens11ive • Effectcve 02/0612015
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                                                                                     23                                                                                                                                            CP-411
                                     UNITED STATES CAPITOL  POLICE                                                                                                                                                                 (10/16)

                                                            REQUEST FOR VIDEO RECORDINGS

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                                                             TIMI;                                                                                                                                                                           J




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    16. REQUESTING OFFICIAL                                                      - ·- -                                                                                  17. UNIT
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    18. OFFICE PHQNE                 ;1
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                                                                 CHIEF OF OPERATIONS APPROVAL
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   27. SJGNATl,JRE                                                                                  28. PRINTED NAME
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   29. VIDEO REQUEST TRACKING NUMBER                                                                30. DATE ~qMP~ff~D


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   ON THIS CD/DVD MAY RESULT IN APPROPRIATE ADVERSE ACTION
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Attachment 3


                        SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                    CRIMINAL DIVISION

      DISTRICT OF COLUMBIA
                                                            Docket No.: 2018 CTF 017464
              v.                                            Court Date: January 22, 2019
                                                            Courtroom 116

      RICKY WISEMAN

         PROTECTIVE ORDER CONCERNING THE DISCLOSURE AND USE OF UNITED
                   STATES CAPITOL POLICE SURVEILLANCE VIDEO


              It is this _ _ _ _ day of _ _ _ _ _, 201_, hereby

              ORDERED that Bryan Brown, attorney for the defendant be permitted to obtain a copy

      of the street video; and it is

              FURTHER ORDERED that Bryan Brown may show the street video in court as

      necessary to litigate this matter and the video shall not be used for any other case or purpose; and

      it is

              FURTHER ORDERED that Bryan Brown may only show the street video to the

     defendant and any investigators working on this case and shall not share the street video nor

     show it to any other person not directly affiliated with this case; and it is

              FURTHER ORDERED that neither Bryan Brown, his investigators, nor the defendant are

     to reproduce, share, disseminate, nor discuss with any person not named in this Order, the

     depictions shown in the street video; and it is

              FURTHER ORDERED that Bryan Brown must return the street video to the Office of the

     Attorney General after the later of a plea, trial or sentencing in the above-entitled case.


                                                    Honorable Judge _ _ _ _ __
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                                  CERTIFICATE OF SERVICE
        I hereby certify that on this _ 26th_ day of December, 2018, a true copy of the foregoing
District of Columbia's Motion for Protective Order Concerning the Disclosure and Use of
United States Capitol Police Street Video was sent electronically to Bryan Brown, counsel for
the defendant.




                                     JOSHUA KARPOFF
                                     Assistant Attorney General
          Case
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                     SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                                 CRIMINAL DIVISION

    DISTRICT OF COLUMBIA
                                                            Docket No.: 2018 CTF 017464
           v.                                               Court Date: January 22, 2019
                                                            Courtroom 116

    RICKY WISEMAN

     DISTRICT OF COLUMBIA'S MOTION FOR PROTECTIVE ORDER CONCERNING
      THE DISCLOSURE AND USE OF UNITED STATES CAPITOL POLICE STREET
                                  VIDEO

           The District of Columbia ("District"), by and through its attorney, the Office of the

    Attorney General, hereby moves for a protective order concerning the disclosure and use of

    United States Capitol Police ("USCP") street video. In support of its motion, the District makes

    the following representations:

                                     PROCEDURAL BACKGROUND

           On November 28, 2018, the defendant was charged with Driving Under the Influence

    ("DUI"), in violation ofD.C. Code§ 50-2206.11(2014 Repl.), and Operating a Vehicle While

    Impaired ("OWi"), in violation ofD.C. Code§ 50-2206.14 (2014 Repl.). The case is set for

    status on January 22, 2019. On December 26, 2018, undersigned counsel received a copy of

    street video footage related to this case. For national security reasons, as indicated below, the

    District now files its motion for a protective order.

                                        STATEMENT OF FACTS

           On November 1, 2018, at approximately 11:01 p.m., Ricky Wiseman ("defendant") was

    arrested for impaired driving after he was observed exiting the C-Street garage of the U.S. House

    of Representatives Cannon building, located at 25 Independence Avenue, S.E., Washington,

    D.C.
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                                           ARGUMENT

        THE COURT HAS DISCRETION TO ISSUE THE PROTECTIVE ORDER
        IN THIS CASE.

        The Court has discretion to issue the protective order given the parameters the

government requests. See, e.g., Douglas Oil Co. v. Petrol Stops Northwest; 441 U.S. 211,219

(1979) (recognizing the need to protect confidential sources in criminal investigations); Black v.

Sheraton C01p. ofAmerica, 184 U.S. App. D.C. 46, 60-61, 564 F.2d 531, 545-46 (1977) (same).

Courts also have recognized the importance of protecting investigative techniques. Id. at 60-61,

564 F.2d at 545-46. Harris v. United States, 594 A.2d 546, 548-49 (D.C. 1990 is instructive. In

Harris, the Court issued a protective order to defense counsel prohibiting him from sharing a

video-taped statement with the defendant, but allowed defense to speak to the defendant

regarding the substance of the information. Id. The Court held that "(a] restriction on defense

counsel that prevents him from revealing what is possibly Jencks material does not materially

interfere with counsel's duty to advise a defendant on trial-related matters." Id, 594 A.2d at 549,

citing State v. Schaeffer, 217 Neb. 4, 6, 346 N.W.2d 701, 703 (1984) ("It is difficult to equate

denial of the right to speak to a client with a prohibition against disclosure of the contents of a

nonrelevant document..."). Furthermore, the Court found that this restriction was reasonable. It

went on to hold that "the trial court imposed the temporary restriction on defense counsel to

allow him the opportunity to review the tape before the trial court ruled on the government's

request for a protective order. The trial court's procedure enabled counsel to argue the next day

against the issuance of a protective order." Id, 594 A.2d at 549, relying on United States v.

Eniola, 282 U.S.App.D.C. 176, 181, 893 F.2d 383,388 (1990) ("The essence of the sixth

amendment threshold is whether defense counsel has demonstrated that the [argued] defense has
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legitimate potential such that [defense counsel] is entitled freely to discuss the strategies with his

client for attempting to prove the defense. ").

       Here, the release of Capitol security street videos could compromise USCP's ability to

protect the Capitol. The USCP's primary mission is to police the United States Capitol

Buildings and Grounds, 1 and it has the power to enforce the laws of the District of Columbia

pursuant to 2 U .S.C. §1961. As part of its policing responsibilities, the USCP maintains and

controls a series of video surveillance cameras throughout the Capitol Grounds. The purpose of

the cameras is to assist in the maintenance of national security by detecting threats to U.S.

Congressmen, their staff, and constituents, deterring and preventing terrorism, and providing for

the safety and security of the Capitol Buildings and Grounds. The cameras are generally not

used to collect evidence in criminal matters.

       The release of security information by USCP is governed by 2 U.S.C. § 1979 (b):

       Notwithstanding any other provision of law, any security information in the
       possession of the Capitol Police may be released by the Capitol Police to another
       entity, including an individual, only if the Capitol Police Board determine in
       consultation with other appropriate law enforcement officials, experts in security
       preparedness, and appropriate committees of Congress, that the release of security
       information will not compromise the security and safety of the Capitol buildings
       and grounds or any individual whose protection and safety is under the
       jurisdiction of the Capitol Police.

       '"Security information" is defined as any information that is "sensitive with respect to the

policing, protection, physical security, intelligence, counterterrorism actions, or emergency

preparedness and response relating to Congress ... and the Capitol building and grounds" which

is obtained by the Capitol Police. 2 U.S.C. § 1979 (a). The locations and capabilities of the




1 The streets and physical locations included in USCP's jurisdiction are outlined in 2 U.S.C. §

1967 (b).
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street cameras fall under this definition of security information, as this information directly

concerns the policing and protection of the Capitol grounds.

        Revealing the locations and capabi1ities of these cameras could jeopardize USCP's

mission to protect the Capitol grounds. The dissemination of information concerning the

location and technical capabilities, including the ability to focus, pan, and zoom on a moving or

stationary object, as well as information about the image quality will aid people who are intent

on finding weaknesses in the United States' ability to protect the Capitol buildings, grounds, and

individuals whose protection and safety is under the jurisdiction of the Capitol Police. In the

past year the District has prosecuted hundreds of impaired driving cases brought by Capitol

Police. Even assuming that many of these arrests were not caught on video and that some of the

arrests occurred at the same locations, the systematic release of all of these Capitol security

videos in the future would compromise the ability of USCP to protect the Capitol.

       The District acknowledges that pursuant to its duty under Super Ct. Crim. R. P. 16, street

video obtained by USCP may be discoverable. In Howard v. United States, 656 A.2d 1106, 111 1

(D.C. 1995), the Court also allowed reasonable issuance of a protective order. The Court held

       Before trial, the prosecutor, out of concern for his obligations under Brady v.
       Maryland, 373 U.S. 83, IO L. Ed. 2d 2 15, 83 S.Ct 1194 (1963), informed the
       court and defense counsel that Derrick Ross was a suspect in an unrelated armed
       robbery, although there was no basis for believing that Ross was aware he was
       under suspicion.. The court ruled that this information was too attenuated to fall
       within the demands of Brady. The court issued a protective order prohibiting
       defense counsel from discussing this information with appellant Howard and from
       using it as a basis for cross-examining Ross. On appeal, Howard contends that
       this protective order violated his Sixth Amendment right to counsel, as well as his
       rights under the Confrontation Clause. We find no abuse of discretion in the
       court's issuance of this protective order.

Howard, 656 A.2d 1106, at 11 11 relying on United States v. Anderson, 509 F.2d 724, 730 (9th

Cir. 1975) ("the district court can and should, when appropriate, place defense counsel under
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enforceable orders against unwarranted disclosure of the evidence that he has heard."). The

government seeks to impose a similar reasonable restriction in this case. Preventing the defense

from sharing the locations of these cameras does not interfere with the defendant's rights to

confer with counsel or assist with his defense.

       The Court should balance the public safety interest of protecting our elected officials with

the defendant's right to prepare his defense by issuing a protective order that permits the

defendant to prepare for trial and litigate the case but which limits the defendant, and his counsel,

from reproducing the videos or using them for any reason not directly related to the litigation of

this matter. Thus, the District respectfully asks this Court to issue a protective order pursuant to

Super Ct. Crim. R. P. 16 (d), which would control the disclosure and use of the street camera

video by the defendant and defense counsel.

       A protective order is required in this case because the release ofUSCP security street

videos could compromise USCP's ability to protect the Capitol. Therefore, the government

requests that the Court order that when the defendant obtains a copy of the street video, he shall

not use this video for any other case or purpose and that his defense counsel shall only be

allowed to show the video to the defendant and any investigators working on the case. The

government also requests that the Court order that neither defense counsel, his investigators, nor

the defendant are to reproduce, share, disseminate, nor discuss with any person not named by the

Court in the requested protective order, the depictions shown in the street video. This order

should include that all shall be identified to the government and they shall sign a protective order

to be prepared by the government which precludes the dissemination to any other person of the

disclosed information; "disclosed information" includes any later acquired information derived

from the initial disclosure. Finally, the government requests that the Court order that defense
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counsel must return the street video to the Office of the Attorney General after the later of a plea,

trial or sentencing in the above-entitled case.

       This protective order would serve the security interests ofUSCP in protecting our elected

officials while allowing the District to comply with its Rule 16 obligations.

                                          CONCLUSION

       Based upon the foregoing facts and arguments, the District respectfully requests that this

Court grant the District's motion for a protective order concerning the use, reproduction, and

disclosure of the United States Capitol Police street video.


                                       Respectfully submitted,

                                       KARL A. RACINE
                                       Attorney General for the District of Columbia

                                       TAMAR MEEKINS
                                       Deputy Attorney General, Public Safety Division

                                         ~~
                                       PETER SABA [975945]
                                       Chief, Criminal Section

                                       ~ :t·~
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Attachment 5




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                                          UNITED STATES CAPITOL POLICE
                                           WASHINGTON, DC 20510-7218

                                                   January 11, 2021

                                        Information Sharing Agreement

    Officials and agents of the Metropolitan Police Department of the District of Columbia (MPD)
    coordinating with the United States Capitol Police (USCP) during the course of investigations
    related to the events of January 6, 2021 relating to the U.S. Capitol, acknowledge, understand,
    and agree that the USCP is a legislative branch agency and, as such, all information, to include
    video, audio, photographic and documentary information, shared by the USCP during these
    investigations, shall remain in the legal control of the USCP subject to any and all applicable
    release and non-disclosure requirements of Congress. lnfonnation exchanged as part of these
    investigations shall not be reclassified. All infonnation originating with and provided by the
    USCP as part of these investigations remains the property ofand under the legal control of the
    USCP, and if provided to MPD will be returned to the USCP at the conclusion of the
    investigation. This restriction does not apply to any video, audio, photographic or documentary
    evidence that is used as evidence or discovery as part of any prosecution of any criminal offense.




           Sean P. Gallagher
           Acting Assistant Chief
           United States Capitol Police



        ~  Captain Carlos Heraud
           Homicide Branch Commander
                                    .J)
           Metropolitan Police Depar1mcnt of the District of Columbia




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                                                                                                  Phone 202-224•5151
                                      UNITED STATES CAPITOL POLICE
                                        WASHINGTON, DC 20510-7218

                                               January I0, 2021


                                    Information Sharing Agreement


Officials and agents of the Federal Bureau of Investigation (FBI) coordinating with the United
States Capitol Police (USCP) during the course of investigations related to the events of January
6, 2021 relating to the U.S. Capitol, acknowledge. understand, and agree that the USCP is a
legislative branch agency and, as such, all information, to include video, audio, photographic and
documentary infonnation, shared by the USCP during these investigations, shall remain in the
legal control of the USCP subject to any and all applicable release and non-disclosure
requirements of Congress. Information exchanged as part of these investigations shall not be
reclassified. All infonnation originating with and provided by the USCP as part of these
investigations remains the property of and under the legal control of the USCP, and if provided
to the FBI will be returned to the USCP at the conclusion of the investigation. This restriction
does not apply to any video, audio, photographic or documentary evidence that is used as
evidence or discovery as part of any prosecution of any criminal offense.




       ScaP.Gallagher
       Acting Assistant Chief
       United States Capitol Police




       Steven Michael D'Antuono
       Assistant Director in Charge
       Washington Field Office
       Federal Bureau of Investigation




           Nationally AccrPdltlld by thr Commission on Accrllditat/on for Law En/orcffllmt Agrncin, Inc.
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